                 Case 2:20-cr-00151-RAJ Document 184 Filed 04/06/23 Page 1 of 1




 1                                                                  The Honorable Richard A. Jones

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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
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                                          AT SEATTLE
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       UNITED STATES OF AMERICA,                                 NO. CR20-151 RAJ
11
                                 Plaintiff,
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                                 V.                              ACCEPTANCE OF PLEA OF
13
       EPHRAIM ROSENBERG,                                        GUILTY, ADJUDICATION
14
                                  Defendant.                     OF GUILT AND NOTICE
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                                                                 OF SENTENCING
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             This Court, having considered the Report and Recommendation of the United States
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     Magistrate Judge, to which there has been no timely objection, and subject to consideration
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     of the Plea Agreement pursuant to Fed. R. Crim. P. 11, hereby accepts the plea of guilty of
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     the defendant to the charge contained in Count 1 of the Indictment, and the defendant is
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     adjudged guilty of such offense. All parties shall appear before this Court for sentencing as
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     directed.
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23
                                   6th
             IT IS SO ORDERED this _ _ day of _ _April
                                                  _ _ _ _ , 2023 .
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26
                                                           A
                                                       THE HONORABLE RICHARD A. JONES
                                                       UNITED STATES DISTRICT JUDGE
27
      Acceptance of Plea of Guilty- 1                                    UNITED STATES ATTORNEY
      United States v. Ephraim Rosenberg, CR20- l 51 RAJ                700 STEWART STREET, SUITE 5220
                                                                          SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
